  1   Gregg S. Kleiner, State Bar No. 141311
      RINCON LAW LLP
  2   268 Bush Street, Suite 3335
      San Francisco, California 94104
  3   Telephone No.: 415-672-5991
      Facsimile No.: 415-680-1712
  4   Email: gkleiner@rinconlawllp.com
  5
      Counsel for DORIS A. KAELIN,
  6   Trustee in Bankruptcy

  7

  8                              UNITED STATES BANKRUPTCY COURT

  9                               NORTHERN DISTRICT OF CALIFORNIA

 10                                          SAN JOSE DIVISION

 11   In re                                                Case No. 18-50398 MEH
                                                           Chapter 7
 12
              TECHSHOP, INC.,
                                                           TRUSTEE’S OPPOSITION TO MOTION
 13                                                        FOR RELIEF FROM THE AUTOMATIC
                     Debtor.                               STAY FILED BY DANIEL WOODS AND
 14
                                                           MICHAEL HILBERMAN
 15
                                                           Date: August 24, 2018
 16                                                        Time: 10:00 a.m.
                                                           Place: 280 South First Street
 17                                                               Hon. M. Elaine Hammond
                                                                  Courtroom 3020
 18                                                               San Jose, CA 95113
 19

 20           Doris A. Kaelin, the duly appointed and acting Chapter 7 Trustee (“Trustee”) for the

 21   bankruptcy estate of TechShop, Inc. (“Debtor”) files this opposition to the relief from stay motion

 22   filed by Dan Brown and Mike Hilberman seeking payments from the Debtor’s D&O insurance

 23   [Dockets 143, 144, 145 and 147] (“Motion”). As set forth in greater detail below, the D&O Policy

 24   and its proceeds are Section 541 property of the estate. Furthermore, the Trustee intends, in the very

 25   near future, to engage special counsel to pursue her own claims against the Debtor’s directors and

 26   officers and submits that it is incumbent to preserve the value of the policy for the benefit of all

 27   creditors of the Debtor’s estate.

 28   ///


Case: 18-50398      Doc# 163      Filed: 08/23/18    Entered: 08/23/18 13:34:30        Page 1 of 5        1
  1   Background

  2           The Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy Code on February

  3   26, 2018. Among the assets of the Debtor’s bankruptcy estate is the D&O Policy that is identified

  4   in the Motion. Following the petition date, the Trustee has sought to obtain information with regard

  5   to the Debtor’s pre-petition operations. The Trustee’s efforts to administer the estate were impaired

  6   by the Debtor’s inability to provide documents and information requested by the Trustee and her

  7   professionals.

  8           With the hope of facilitating the Trustee’s receipt of required documents and information,

  9   the Trustee filed a Section 542(e) motion for turnover of records and documents [Dockets 55-56].

 10   The Section 542(e) motion resulted in the Trustee receiving needed information related to the

 11   Debtor’s pre-petition operations. The Trustee and her professionals have been evaluating this and

 12   other information. The Trustee anticipates that, within the next 30 days, she will seek Bankruptcy

 13   Court authority to engage special counsel to pursue claims against the Debtor’s former officers and

 14   directors.

 15   The State Court Action

 16           According to the Motion, on June 22, 2018, the Knight Foundation commenced a state court

 17   action against two of the Debtor’s former officers and directors in the Santa Clara County Superior

 18   Court (“State Court Action”). Although the State Court Action was filed well before the July 26,

 19   2018 claims bar date, the movants, Messrs. Brown and Hilberman, did not file claims against the

 20   Debtor’s estate. The Trustee first learned of the existence of the State Court Action when the Motion

 21   was filed. Prior to filing the Motion, neither the Movants nor their counsel contacted the Trustee to

 22   alert her to the State Court Action or discuss the possibility of making a claim under the D&O

 23   Policy. The Motion fails to provide any evidence that the movants have tendered the claim to the

 24   carrier and, if tendered, the response they received from the carrier.

 25           The plaintiffs in the State Court Action, the Knight Foundation, did not inform the Trustee

 26   of its intent to file the State Court Action, nor did it seek relief from the automatic stay to pursue the

 27   State Court Action. The Trustee is currently evaluating whether the estate needs to file a complaint

 28   to enjoin the State Court Action.

Case: 18-50398      Doc# 163       Filed: 08/23/18     Entered: 08/23/18 13:34:30          Page 2 of 5        2
  1             The Motion seeks a finding from the Bankruptcy Court that the movants may seek to pay

  2   their legal fees and costs arising out of the State Court Action from the D&O Policy. The movants

  3   assert that the D&O Policy is not property of the bankruptcy estate or, in the alternative, that the

  4   proceeds that may be paid from the D&O Policy are not property of the bankruptcy estate.

  5             The movants’ characterization of the D&O Policy is incorrect and the Motion should be

  6   denied.

  7   The D&O Policy

  8             The D&O Policy includes claims coverage for the directors and officers (Side A),

  9   indemnification of the Debtor (Side B), and direct coverage of claims made against the Debtor (Side

 10   C). The policy is a “wasting” policy – meaning payments made by the carrier for defense fees and

 11   costs reduce, dollar-for-dollar, the policy limits. Declaration of Doris Kaelin in Opposition to Relief

 12   from Stay Motion, ¶2. The movants seek a determination from the Court that they may seek

 13   unlimited sums under the D&O Policy to pay their legal fees and costs related to the State Court

 14   Action.

 15             The D&O Policy is a “claims made policy,” requiring claims against the Debtor and its

 16   officers to be made during the policy period in order to trigger potential coverage. Prior to the

 17   petition date, the Debtor purchased an extension of the reporting period on the policy. The extension

 18   runs through April 1, 2021. The Policy includes an express provision that the Trustee may pursue

 19   claims under the Policy. D&O Policy, ¶(C)(e)(v). Kaelin Declaration, Exhibit A.

 20   Analysis

 21             The Motion asserts that the D&O Policy is not property of the bankruptcy estate. This

 22   assertion ignores binding Ninth Circuit precedent which provides that directors and officer liability

 23   policies are property of the estate under Section 541(a) of the Bankruptcy Code and, as such, are

 24   subject to the automatic stay. In re Minoco Group of Companies, Ltd., 799 F 2d. 517, 518 (9th Cir.

 25   1986). Relying on the Fifth Circuit’s decision in Louisiana World Exposition, 1 the Motion asserts

 26   that the estate’s ownership interest in the policy should be disregarded and that the Court should

 27
      1
 28    Louisiana World Exposition, Inc. v. Federal Insurance Company (In re Louisiana World Exposition, Inc., 832 F 2d.
      1391, 1401 (5th Cir. 1987) (“World Expo”).

Case: 18-50398       Doc# 163        Filed: 08/23/18       Entered: 08/23/18 13:34:30           Page 3 of 5          3
  1   conclude that the proceeds payable under the policies belong to the movants. The Ninth Circuit has

  2   expressly declined, to date, to adopt the reasoning in In re Louisiana World Exposition. In re Pintlar

  3   Corporation, 124 F 3d. 1310, 1314 (9th Cir. 1997).

  4          While it is without dispute that the D&O Policy is property of the bankruptcy estate, the

  5   Motion argues, in the alternative, that the Policy proceeds are not property of the bankruptcy estate.

  6   The case authorities relied upon in the Motion are distinguishable.

  7           In re Daisy Sys. Sec. Litig., 132 B.R. 752 (N.D. Cal. 1991) concerned the settlement of a

  8   five-year-old class action and derivative litigation pending in the district court. On the eve of

  9   settlement, the debtor filed chapter 11 and its chapter 11 trustee filed a complaint to require the

 10   insurers to deliver the D&O proceeds to the trustee for “safekeeping” and future distribution. The

 11   plaintiffs and defendants in the class action filed a motion to withdraw the reference and to have the

 12   court deny the requested turnover. The court granted the motion to withdraw, and denied the

 13   turnover request concluding that (i) the district court was in the best position to “effectuate a fair

 14   distribution of the insurance proceeds” and (ii) the trustee could always object to any proposed future

 15   distribution. Id at 756. Unlike the situation in Daisy, the State Court Action is less than two months

 16   old, the litigation may have been filed in violation of the automatic stay, the Trustee is in the process

 17   of engaging special litigation counsel to pursue claims against the Debtor’s officers and directors,

 18   and it is premature to determine the interests the movants may have, if any, in the D&O policies

 19   and proceeds in relation to the State Court Action.

 20          World Expo involved a dispute over D&O policy proceeds related to coverage for only the

 21   debtor’s officers and directors, meaning it was not possible for the debtor to file its own claims

 22   against its officers and directors. World Expo, at 1399. Because the debtor was not covered by the

 23   policy, court in World Expo concluded the debtor had no interest in the proceeds. Unlike World

 24   Expo, the Debtor is a named insured and therefore has an interest in the D&O Policy and the

 25   proceeds. “In such cases, the estate owns not only the policies, but also the proceeds designated to

 26   cover corporate losses or liability.” World Expo, at 1399-1400, cites omitted; Accord, In re Allied

 27   Digital Technologies, Corp., 306 BR 505, 511 (Bankr. DE 2004) (“A debtor's interest in the

 28   proceeds requires protection from depletion and overrides the interest of the directors and officers.”)

Case: 18-50398      Doc# 163      Filed: 08/23/18      Entered: 08/23/18 13:34:30         Page 4 of 5        4
  1            At this juncture, the Trustee submits that it is premature to make a determination of what

  2   interests, if any, the movants have or could assert in the Policy proceeds. This is particularly true

  3   in light of the fact that the Trustee intends to commence litigation on behalf of estate and that

  4   litigation is likely to include claims against other officers and directors in addition to the movants.2

  5   Kaelin Declaration ¶5.

  6            The estate’s potential damages from litigation it will pursue are likely to be significantly

  7   greater (by many factors) than the maximum Policy limits. Id. Because the Policy is a wasting

  8   policy, any payments that movants seek to pay their counsel for defending them in the State Court

  9   Action will diminish the value of the Policy and could greatly reduce and, possibly exhaust, the

 10   Policy proceeds. Allowing payment of the movants legal fees and costs related to the State Court

 11   Action could jeopardize the estate’s ability to receive payments from the D&O Policy if the estate

 12   is successful in its litigation. In re MILA, Inc., 423 B.R. 537, 543-544 (9th Cir. BAP 2010)

 13   (evaluating the impact of a “wasting” policy and noting that this is a concern when there are

 14   “multiple parties trying to access the proceeds, not just one officer and one trustee.”)

 15            The Motion does not identify the amount or amounts that the movants intend to seek from

 16   the carrier nor does the Motion provide a budget. The Motion effectively seeks Court approval for

 17   a blank check to pay movants’ fees and costs from the D&O Policy. If the Motion is granted as

 18   prayed for, the movant’s unregulated and unchecked demands on the policy will very likely result

 19   in a material reduction of the Policy’s value which will prejudice the Trustee and the estate in its

 20   planned claims.

 21            WHEREFORE, the Trustee prays for an order denying the Motion.

 22       DATED: August 23, 2018                   RINCON LAW LLP

 23
                                                   By: /s/ Gregg S. Kleiner
 24                                                    GREGG S. KLEINER
                                                       Counsel for DORIS A. KAELIN,
 25                                                    Trustee in Bankruptcy
 26

 27   2
        In the event that the Court agrees to modify the stay, it is imperative that the Court place a meaningful limit on
      payments that can be made for defense costs and that those payments must be subject to periodic review and approval
 28
      by the Trustee and the Court.

Case: 18-50398        Doc# 163       Filed: 08/23/18        Entered: 08/23/18 13:34:30             Page 5 of 5          5
